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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA




PJSC CREDIT-MOSCOW BANK, ET AL.                      :
                                                     :       CIVIL ACTION
               v.                                    :
                                                     :       NO. 15-6604
NAIL KHAIROULLINE                                    :
a/k/a NAIL A. KHAIROULLINE                           :
a/k/a NAIL ABDULOVICH                                :
KHAIROULLINE, ET AL.                                 :


                                           ORDER


               AND NOW, TO WIT: This          27th       day of   June   , 2017, it having been

reported that the above captioned action has been settled and upon Order of the Court pursuant to

the provisions of Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Rule 41.1(b) of the Local

Rules of Civil Procedure of this Court, it is ORDERED that the above captioned action is

DISMISSED with prejudice, pursuant to agreement of counsel without costs.

                                                KATE BARKMAN, Clerk of Court


                                                BY: /s/ Donna Donohue Marley
                                                    Civil Deputy Clerk to Judge Surrick




Faxed 06/27/17

E. Golden, Esquire
C. Polchin, Esquire
C. Moffitt. Esquire
A. Grinshpun, Esquire
